AO 245B (Rev. ) Judgment in a Criminal Case
                     Sheet 1



                                         UNITED STATES DISTRICT COURT
                                      Eastern District of North Carolina
                                                        )
              UNITED STATES OF AMERICA                  )    JUDGMENT IN A CRIMINAL CASE
                          v.                            )
                                                        )
                                                        )    Case Number: 5:16-CR-124-1FL
               DARRELL ALPHONSO JORDAN
                                                        )    USM Number: 62607-056
                                                        )
                                                        )     Camden R. Webb
                                                        )    Defendant’s Attorney
THE DEFENDANT:
✔ pleaded guilty to count(s)
G                                     Counts 1 and 2

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
 18 USC §1951 and                   Robbery Affecting Interstate Commerce and Aiding and                     1/13/2015                    1

 18 USC §2                           Abetting



       The defendant is sentenced as provided in pages 2 through                9         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                              G is      G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                          10/6/2016
                                                                         Date of Imposition of Judgment

    4FOUFODJOH -PDBUJPO
    /FX #FSO /$
                                                                         Signature of Judge




                                                                          Louise W. Flanagan, U.S. District Judge
                                                                         Name and Title of Judge


                                                                          10/6/2016
                                                                         Date




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                      Sheet 1A
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DEFENDANT: DARRELL ALPHONSO JORDAN
CASE NUMBER: 5:16-CR-124-1FL

                                          ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                                         Offense Ended           Count
18 USC §924(c),                   Using and Carrying a Firearm During and in Relation to    1/13/2015               2
18 USC §924(c)(1)(A)(i)            a Crime of Violence and Aiding and Abetting
18 USC §2




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AO 245B (Rev. ) Judgment in Criminal Case
                       Sheet 2 — Imprisonment

                                                                                                     Judgment — Page    3       of   9
DEFENDANT: DARRELL ALPHONSO JORDAN
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                                                           IMPRISONMENT
           The defendant is hereby committed to the custody of the )HGHUDO Bureau of Prisons to be imprisoned for a total
term of:
    46 months on Count 1 and a term of 60 months on Count 2, to be served consecutively, producing a total term of 106 months




      G
      ✔ The court makes the following recommendations to the Bureau of Prisons:



    The court recommends that the defendant receive intensive substance abuse treatment, vocational training, and educational
    opportunities. The court recommends defendant receive a mental health assessment and mental health treatment while
    incarcerated. The court recommends that he serve his term in FCI Butner, NC.

      G
      ✔ The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
           G at                                  G a m.       G p m.         on                                             .

           G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           G before 2 p m. on                                            .

           G as notified by the United States Marshal.
           G as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                       to

a                                                  , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL




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AO 245B (Rev. ) Judgment in a Criminal Case
                      Sheet 3 — Supervised Release
                                                                                                               Judgment—Page           4     of           9
 DEFENDANT: DARRELL ALPHONSO JORDAN
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                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 3 years on Count 1 and a term of 5 years on Count 2, such terms to run concurrently

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 ✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
 G                                                                                                                              (Check, if applicable.)

 G
 ✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer.              (Check, if applicable.)


 G The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
   as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 G The defendant shall participate in an approved program for domestic violence.            (Check, if applicable.)

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
         felony, unless granted permission to do so by the probation officer;
  10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
  11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
  13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant’s compliance with such notification requirement.




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AO 245B (Rev. ) Judgment in a Criminal Case
        Sheet 3B — Supervised Release
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DEFENDANT: DARRELL ALPHONSO JORDAN
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                           ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
 The defendant shall provide the probation office with access to any requested financial information.

 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 office.




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AO 245B (Rev. ) Judgment in a Criminal Case
        Sheet 3C — Supervised Release
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DEFENDANT: DARRELL ALPHONSO JORDAN
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                                          SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
 officer, any other law enforcement officer, of the defendant’s person and premises, including any vehicle, to determine
 compliance with the conditions of this judgment.

 The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
 addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
 and may require residence or participation in a residential treatment facility.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 The defendant shall participate in a program of mental health treatment, as directed by the probation office.




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AO 245B (Rev. ) Judgment in a Criminal Case
         Sheet 5 — Criminal Monetary Penalties
                                                                                                    Judgment — Page       7     of         9
 DEFENDANT: DARRELL ALPHONSO JORDAN
 CASE NUMBER: 5:16-CR-124-1FL
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                     Fine                                 Restitution
 TOTALS             $ 200.00                                       $ 0.00                               $    11,697.99


 G The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

   Name of Payee                                                          Total Loss*         Restitution Ordered Priority or Percentage
   Sandra Martinez                                                               $713.99                    $713.99
   Paradise Bingo Business                                                     $4,284.00                 $4,284.00
   Magic Gold Sweepstakes                                                      $3,000.00                 $3,000.00

   AIA Sweepstakes                                                             $3,700.00                 $3,700.00




 TOTALS                               $                11,697.99           $                11,697.99


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G
 ✔     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       ✔ the interest requirement is waived for the
       G                                                     G fine     ✔ restitution.
                                                                        G
       G the interest requirement for the           G fine    G restitution is modified as follows:

 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.

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         Sheet 5A — Criminal Monetary Penalties
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                      ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
 Payment of restitution shall be due and payable in full immediately. However, if the defendant is unable to pay in full
 immediately, the special assessment and restitution may be paid through the Inmate Financial Responsibility Program
 (IFRP). The court orders that the defendant pay a minimum payment of $25 per quarter through the IFRP, if available.
 The court, having considered the defendant's financial resources and ability to pay, orders that any balance still owed at
 the time of release shall be paid in installments of $75 per month to begin 60 days after the defendant's release from
 prison. At the time of the defendant's release, the probation officer shall take into consideration the defendant's ability to
 pay the restitution ordered and shall notify the court of any needed modification of the payment schedule.




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AO 245B (Rev. ) Judgment in a Criminal Case
        Sheet 6 — Schedule of Payments

                                                                                                                Judgment — Page       9      of          9
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                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     G
       ✔ Lump sum payment of $             11,897.99             due immediately, balance due

            G     not later than                                      , or
            G
            ✔     in accordance          G C,       G D,        G E, or          ✔ F below; or
                                                                                 G
 B     G Payment to begin immediately (may be combined with                   G C,         G D, or      G F below); or
 C     G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D     G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F     G
       ✔ Special instructions regarding the payment of criminal monetary penalties:
             The special assessment in the amount of $200.00 and restitution in the amount of $11,697.99 are due in full
             immediately. See Sheet 5A for additional payment instructions.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 WKH SHULRG RI imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 G
 ✔ Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.

        Kahleel Deshawn Smith    5:16-CR-123-1FL $11,584.00 (Joint and Several)
        Jordan Dion Mitchell     5:16-CR-125-1FL $11,697.99 (Joint and Several)
        Tyree Demetrius McMillan 5:16-CR-126-1FL $11,584.00 (Joint and Several)

 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 G
 ✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
        As directed in the Order of Forfeiture entered on October 6, 2016



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

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